          Case 2:93-cv-00902-RBS Document 449-5 Filed 06/29/18 Page 1 of 1 PageID# 729
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   Robert W. McFarland
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          June 29, 2018

          HAND DELIVERY

          Fernando Gallndo, Clerk
          United States District Court
          600 Granby Street
          Norfolk, VA 23510

                     RMS Titanic, Inc., etc. v. The Wrecked and Abandoned Vessel, etc
                    Civil Action No. 2:93cv902

          Dear Mr. Gallndo;

                 Enclosed for filing in the above-captioned matter are a Motion to Approve Asset
          Purchase Agreement and Authorize the Sale of 100% of RMST Stock to Premier Acquisition
          Holdings, LLC or Other Qualified Purchaser as Approved by the Bankruptcy Court,
          Memorandum in Support, and Exhibits. We are providing a courtesy copy of the Motion,
          Memorandum and Exhibits to Chief Judge Smith, and have also delivered copies to counsel for
          the United States Government.

                    Thank you for your assistance. With best wishes, I am

                                                        Sincerely yours,



                                                        Robert W. McFarland

          RMW/mgm

          End


          CC:       The Honorable Rebecca B. Smith, Chief Judge (by hand delivery)
                    Kent Porter, Esq. (by email and hand delivery)
                    Brian A. Wainger, Esq. (by email)
